 Case 19-20068-rlj7 Doc 12 Filed 04/26/19                      Entered 04/26/19 14:43:19              Page 1 of 4



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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                         AMARILLO DIVISION
 IN RE:                                                    §
                                                           §      CASE NO. 19-20068-RLJ7
 BRENDA LONG                                               §      CHAPTER 7
      DEBTOR(S)                                            §
                                                           §      HEARING DATE: MAY 16, 2019
 NATIONSTAR MORTGAGE LLC D/B/A MR.                         §
 COOPER                                                    §      HEARING TIME: 01:30 P.M.
       MOVANT                                              §
 VS
 BRENDA LONG
 AND KENT DAVID RIES, TRUSTEE
       RESPONDENTS
           MOTION FOR RELIEF FROM AUTOMATIC STAY OF ACT AGAINST PROPERTY
                                   NOTICE
  PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE IS REQUIRED TO THIS
  MOTION, OR THE ALLEGATIONS IN THE MOTION MAY BE DEEMED ADMITTED, AND AN
  ORDER GRANTING THE RELIEF SOUGHT MAY BE ENTERED BY DEFAULT.
  ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE UNITED
  STATES BANKRUPTCY COURT AT , AMARILLO, TEXAS, 79101-1559, BEFORE CLOSE OF
  BUSINESS ON MAY 10, 2019 WHICH IS AT LEAST 14 DAYS FROM THE DATE OF SERVICE
  HEREOF. A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY AND ANY
  TRUSTEE OR EXAMINER APPOINTED IN THE CASE. ANY RESPONSE SHALL INCLUDE A
  DETAILED AND COMPREHENSIVE STATEMENT AS TO HOW THE MOVANT CAN BE
  "ADEQUATELY PROTECTED" IF THE STAY IS TO BE CONTINUED.
TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          Comes now Nationstar Mortgage LLC d/b/a Mr. Cooper, as servicing agent for Federal National Mortgage

Association (hereinafter collectively referred to as "Movant"), its successors and/or assigns, a secured creditor in the

above-entitled and numbered case, by and through its attorneys, to file this its Motion for Relief from Automatic Stay

of Act against Property ("Motion") against: Brenda Long and Kent David Ries, duly appointed Chapter 7 Trustee,

hereinafter referred to respectively as "Debtor(s)," and "Trustee." In support thereof, Movant would respectfully

represent to the Court as follows:




MOTION FOR RELIEF                                                                                MFR_MtnDfltR00
                                                                                                    5957-N-2876
 Case 19-20068-rlj7 Doc 12 Filed 04/26/19                        Entered 04/26/19 14:43:19              Page 2 of 4



            1.    On March 05, 2019, Debtor(s) filed a voluntary petition under Chapter 7 of the Bankruptcy Code.

Subsequently, Kent David Ries was appointed Trustee in this Chapter 7 case, qualified and is duly acting in such

capacity.

            2.    This Court has jurisdiction of this Motion by virtue of 11 USC §§105, 361 and 362, and 28 USC §§1334

and 157

            3.    Movant is the holder of the following Note and Deed of Trust (the "Deed") of even date therewith

concerning the real property located at 4900 Reding Rd, Amarillo, Texas 79108 (the "Property"). True and correct

copies of the Note and Deed are attached to the affidavit filed in support of this motion.

                 a.   Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The Note was

                      subsequently transferred to Movant.

                 b.   Nationstar Mortgage LLC services the Note on the property. In the event the automatic stay is

                      modified, this case dismisses and/or the Debtor receives a discharge and a foreclosure action is

                      commenced on the property, the foreclosure will be conducted in the name of Movant.

                 c.   Movant, directly or through an agent, has possession of the Note and held the Note at the time of

                      filing the Motion. The Note has been duly endorsed.

                 d.   As of 04/12/2019, the unpaid principal balance of the Note and Deed is $59,719.12.
                      Debtor(s) are in default on 30 contractual payments totaling   $39,433.92:
                      11/01/2016 to 06/01/2017 (8) at $1,324.21 each =                     $10,593.68
                      07/01/2017 to 03/01/2019 (21) at $1,310.92 each =                    $27,529.32
                      04/01/2019 to 04/01/2019 (1) at $1,310.92 each =                      $1,310.92
                      Less Suspense Balance -$628.58 = $38,805.34
                      The amount of current monthly mortgage installment payment is $1,310.92

            4.    By failing to make the regular monthly installment payments due pursuant to the Note, Debtor(s) have

not provided adequate protection to Movant. Consequently, Movant lacks adequate protection of its interest in the

Property. Movant therefore seeks relief from the automatic stay pursuant to 11 USC §362(d).

            5.    Movant has no remedy available to it other than to seek relief from the automatic stay.

            6.    Movant specifically requests permission from this Honorable Court to communicate with Debtor(s) and

Debtor(s)' counsel to the extent necessary to comply with applicable non-bankruptcy law.

            7.    Movant has had to retain counsel to represent it before this Court and is incurring legal expenses and

attorneys' fees for which it is entitled to reimbursement under the terms of its Note and Deed.




MOTION FOR RELIEF                                                                                 MFR_MtnDfltR00
                                                                                                     5957-N-2876
  Case 19-20068-rlj7 Doc 12 Filed 04/26/19                    Entered 04/26/19 14:43:19               Page 3 of 4



          8.    For the above and foregoing reasons, Movant asserts cause exists sufficient to waive the requirement

of Bankruptcy Rule 4001(a)(3), therefore allowing Order to be effective upon this Honorable Court's signature.

          WHEREFORE, PREMISES CONSIDERED, Movant prays that, upon hearing of this Motion, said automatic

stay be terminated as to the claim of Movant, its successors and/or assigns, to seek its statutory and other available

remedies; that Movant, its successors and/or assigns, be permitted to obtain possession of the Property to the exclusion

of Debtor(s), alternatively, Movant, its successors and/or assigns, be afforded adequate protection by including, but

not limited to, having all payments presently due in this proceeding to Movant being brought current and Movant

being reimbursed for its reasonable attorneys' fees and expenses; and that Movant be granted such other and further

relief, at law and in equity, as is just.

                                                            Respectfully submitted,
                                                            Bonial & Associates, P.C.

                                                            /s/ Chandra D. Pryor
                                                            Braden P. Barnes / TXBN 24059423
                                                            Chandra D. Pryor / CABN 320903
                                                            Attorneys and Counselors
                                                            14841 Dallas Parkway, Suite 425
                                                            Dallas, Texas 75254
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                                                            (972) 643-6698 (Telecopier)
                                                            E-mail: BkcyAttorneys@BonialPC.com
                                                            Attorney for Nationstar Mortgage LLC d/b/a Mr. Cooper


                                            CERTIFICATE OF CONFERENCE
        I hereby certify that counsel for Movant attempted to confer with counsel for Debtor(s) prior to filing this
motion and the issues raised herein are not yet resolved.
                                                            /s/ Chandra D. Pryor
                                                            Braden P. Barnes
                                                            Chandra D. Pryor




MOTION FOR RELIEF                                                                                MFR_MtnDfltR00
                                                                                                    5957-N-2876
  Case 19-20068-rlj7 Doc 12 Filed 04/26/19                      Entered 04/26/19 14:43:19               Page 4 of 4



                                            CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the foregoing document has been served upon the following
parties in interest either via pre-paid regular U.S. Mail or via electronic notification on or before the 29th day of April
2019:
Debtor              Via U.S. Mail
Brenda Long
4900 Reding Rd
Amarillo, TX 79108-6836


Debtor's Attorney
Patrick Alan Swindell
Swindell Law Firm
106 SW 7TH Ave
Amarillo, TX 79101-2518

Chapter 7 Trustee
Kent David Ries
2700 S Western Street Suite 300
Amarillo, Texas 79106


US Trustee
Office of the U.S. Trustee
1100 Commerce Street, Room 976
Dallas, Texas 75242

Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541

Lane & Countryman
Attorney at Law
8526 N New Braunfels
San Antonio, TX 78217




19-20068-RLJ7                                                /s/ Chandra D. Pryor
                                                             Braden P. Barnes
                                                             Chandra D. Pryor




MOTION FOR RELIEF - CERTIFICATE OF SERVICE                                                                    5957-N-2876
                                                                                                           MFR_CertOfServ
